
675 S.E.2d 35 (2009)
COPPER, et al.
v.
DENLINGER, et al.
No. 526A08.
Supreme Court of North Carolina.
March 11, 2009.
Ann L. Majestic, Christine Scheef, Raleigh, for School Board, et al.
Frances P. Solari, for Copper, et al.
Ann S. Estridge, Dan M. Hartzog, Jr., Raleigh, Ann H. Smith, for Denlinger.
The following order has been entered on the motion filed on the 9th day of March 2009 by NC School Boards Asso. for leave to file Amicus Curiae Brief:
"Motion Allowed. Unless already submitted, the Amicus Brief shall be submitted to the court within the times allowed and in the manner provided by Appellate Rule 28(i). By order of the Court in conference this the 11th day of March 2009."
